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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES of AMERICA                )
                                         )
               vs.                       )     No. 1:21-mj-00123-1
                                         )
 MARISSA SUAREZ,                         )
                                         )
               Defendant.                )



                      CONSENT MOTION FOR CONTINUANCE


      Defendant Marissa Suarez, through undersigned counsel and with the consent of

the United States, respectfully moves the Court for an order continuing until May 5, 2021

the status hearing now scheduled for March 5, 2020. The proposed continuance will give

the parties additional time to negotiate a resolution of the case. Ms. Suarez consents to

exclude from calculation under the Speedy Trial Act the time between March 5, 2021 and

May 5, 2021.


Date: March 5, 2021                   Respectfully submitted,


                                             /s/ Paul F. Enzinna
                                      Ellerman Enzinna PLLC
                                      1050 30th Street, NW
                                      Washington, DC 20007
                                      202.753.5553
                                      penzinna@ellermanenzinna.com


                                      Counsel for Defendant Marissa Suarez
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                             CERTIFICATE OF SERVICE

         I certify that on March 5, 2021, a copy of the foregoing Consent Motion for
Continuance was filed using the CM/ECF system, which will then send notification of such
filing to all counsel of record.

                                     Respectfully submitted,

                                       /s/ Paul F. Enzinna
Date: March 5, 2021                   Ellerman Enzinna PLLC
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